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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

   K.C., et al.,                                       )
                                                       )
                   Plaintiffs,                         )
                                                       )
           v.                                          )
                                                       )   Case No. 1:23-cv-00595-JPH-KMB
   THE INDIVIDUAL MEMBERS OF THE                       )
   MEDICAL LICENSING BOARD OF                          )
   INDIANA, in their official capacities, et al.,      )
                                                       )
                   Defendants.                         )

            DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
                    MOTION FOR PRELIMINARY INJUNCTION

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                                     STATEMENT OF ISSUES

         Senate Enrolled Act 480 prohibits gender-transition procedures for minors, including

  GnRH analogues (puberty blockers), hormones, and surgeries. Plaintiffs’ motion to preliminarily

  enjoin enforcement of S.E.A. 480 presents the following issues:

         1.      Whether substantive due process confers a right on minors to obtain GnRH ana-

  logues, hormones, and surgeries for the purpose of gender transition, or a right on their parents to

  obtain them for their children.

         2.      Whether S.E.A. 480 violates equal protection by using age, condition, and proce-

  dure to determine permissible medical uses of GnRH analogues, hormones, and surgeries.

         3.      Whether S.E.A. 480’s restrictions on which procedures physicians may perform

  violates Medicaid’s claims payment requirements even though they do not affect claims payment,

  and if so, whether the Indiana legislature has made a reasonable judgment that unproven and risky

  gender-transition procedures are not “necessary” medical care.

         4.      Whether S.E.A. 480 violates, or is preempted by, the Affordable Care Act’s prohi-

  bition on “sex” discrimination in Medicaid by using age, condition, and procedure to determine

  permissible medical uses of GnRH analogues, hormones, and surgeries.

         5.      Whether S.E.A. 480’s prohibition on aiding or abetting gender-transition proce-

  dures for minors by conduct or other means violates the First Amendment.

         6.      Whether plaintiffs have met all the requirements for a preliminary injunction, in-

  cluding irreparable harm, the balance of the equities, and public interest.

         7.      Whether any preliminary injunction must be limited to the parties to the litigation

  when this case has not been certified as a class action.




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                                          INTRODUCTION

         Even as gender dysphoria seems to be sweeping developed countries, new peer-reviewed

  systematic reviews of scientific literature reveal that the evidence supporting use of puberty block-

  ers, cross-sex hormones, and gender transition surgery is exceedingly poor. Other evidence shows

  the tremendous risks of irreversible negative medical consequences for those who undertake these

  interventions, particularly children. Blockers stunt growth, weaken bones, and affect brain devel-

  opment; hormones increase cancer and stroke risk and can cause permanent sterility. Girls who

  take testosterone are stuck with low voices and facial hair, even if they detransition. And anyone

  who undergoes surgery permanently loses genitals, breasts, or both, with sexual dysfunction often

  accompanying physical disfigurement.

         All of this damage occurs to address a disorder that cannot be verified with objective data.

  It depends entirely on a child’s self-assessment of “feeling” like a girl or boy and preferring the

  social stereotypes of the opposite sex: “girls” toys and clothing or “boys” activities and haircuts.

  Even worse, children who participate in this grand gender-transition experiment often have seri-

  ous, unresolved psychological co-morbidities: depression, anxiety, ADHD, Autism Spectrum Dis-

  order, Post Traumatic Stress Disorder (perhaps resulting from physical or even sexual abuse),

  schizophrenia, and more. For those children and their families, blockers, hormones, and surgeries

  may seem like magic solutions that can cause their symptoms to disappear. But no evidence estab-

  lishes that they do—or proves their long-term efficacy or safety.

         The Indiana legislature has decided that troubled children should not be put in a position

  where their own psychological self-assessment leads to a life of permanent medicalization, pro-

  found physical transformation, infertility, and other known (and unknown) risks to mind and body.

  That decision is reasonable, and no federal constitutional or statutory principle impedes it.



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                                          BACKGROUND

  I.     Sex, Gender Identity, and Gender Discordance

         All humans have a sex—male or female. See Dkt. 48-4 at 5 (Weiss Decl. ¶ 18); Dkt. 48-2

  at 10 (Hruz Decl. ¶ 16). “Sex is an objective biological trait . . . permanently determined . . . at

  conception.” Dkt. 48-2 at 9 (Hruz Decl. ¶ 14); see Dkt. 48-4 at 5–6 (Weiss Decl. ¶¶ 18–20); Dkt.

  48-1 at 52–54 (Cantor Decl. ¶¶ 104–06). Sex is genetically encoded into every cell: “Males have

  XY chromosomes in their cells”; “females have XX chromosomes.” Dkt. 48-4 at 5 (Weiss Decl.

  ¶ 19); see Dkt. 48-2 at 9, 32, 41 (Hruz Decl. ¶¶ 14, 57, 71). That encoding affects humans through

  “over 6,500” sex-differentially expressed genes. Dkt. 48-2 at 27, 41 (Hruz Decl. ¶¶ 48, 71).

         One of sex’s most significant impacts is on reproductive role. Dkt. 48-2 at 9, 41 (Hruz

  Decl. ¶¶ 14, 71). Males produce sperm in testes and deliver it to females; females receive the sperm

  and join it with maternal genetic information contained in an ovum produced by ovaries. Id. (¶ 14);

  see Dkt. 48-4 at 5 (Weiss Decl. ¶ 20). “[N]o procedure can enable an individual to perform the

  reproductive role of the opposite sex.” Dkt. 48-4 at 5 (Weiss Decl. (¶ 21); see Dkt. 48-2 at 32–33

  (Hruz Decl. ¶ 57). Although rare genetic disorders can affect external genitalia, sex can be cor-

  rectly identified from them in “nearly 99.98% of cases.” Dkt. 48-2 at 9–12 (Hruz Decl. ¶¶ 15–19).

         Gender and gender identity are distinct from sex. Gender has varied meanings, traditionally

  having only grammatical significance, but nowadays often referring to “psychological and cultural

  characteristics.” Dkt. 48-2 at 12–13 (Hruz Decl. ¶ 20). As even plaintiffs’ Dr. Turban admits,

  whereas sex refers to an objective, biological concept, gender identity refers to a subjective, psy-

  chological sense. See Dkt. 48-11 at 7 (Turban Dep. 19: 3–12); Dkt. 48-1 at 52 (Cantor Decl. ¶ 104);

  Dkt. 48-2 at 9, 12–13 (Hruz Decl. ¶¶ 14, 20). Plaintiffs’ experts describe gender identity as an

  “internal sense of belonging,” Dkt. 26-2 at 6 (Shumer Decl. ¶ 27), which can be male, female, a



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  blend, or something else, Dkt. 26-1 at 7 (Karasic Decl. ¶ 28). The term “transgender” is often used

  for persons whose gender identity and sex do not align. Dkt. 26-2 at 6 (Shumer Decl. ¶ 27).

          Although plaintiffs’ experts theorize that biology—in addition to social and cultural fac-

  tors—“can contribute” to gender identity, Dkt. 48-10 at 18–19 (Shumer Dep. 64:17–66:16), they

  admit no genetic determinant has been identified, Dkt. 48-11 at 9 (Turban Dep. 26:10–16); see

  Dkt. 48-1 at 79–80 (Cantor Decl. ¶ 162) (no brain structures identified). Plaintiffs’ own witnesses

  concede no test for gender identity exists. Dkt. 48-10 at 9, 11 (Shumer Dep. 27:1–5, 33:14–15);

  Dkt. 48-11 at 8 (Turban Dep. 24:1–6); Dkt. 48-8 at 15 (Mosaic Dep. 51:5–6); see Dkt. 48-1 at 52

  (Cantor Decl. ¶ 104). The only identifier is to ask a person to “tell [them].” Dkt. 48-8 at 15 (Mosaic

  Dep. 51:3–4); see Dkt. 48-10 at 9 (Shumer Dep. 28:13–16); Dkt. 48-9 at 8 (Karasic Dep. 24:15–

  21); Dkt. 48-11 at 7–8 (Turban Dep. 19:13–21, 21:6–22:20). As plaintiffs’ witnesses admit, “gen-

  der identity may evolve over time,” Dkt. 26-2 at 6–7 (Shumer Decl. ¶ 28); see Dkt. 48-8 at 13–14

  (Mosaic Dep. 44:13–15, 46:14–25) (agreeing that “gender identity change[s] over time”).

  II.     Gender Dysphoria

          A.      Diagnosis of gender dysphoria

          Gender dysphoria is a psychiatric (not medical) diagnosis defined by the American Psy-

  chiatric Association’s DSM-5. See Dkt. 48-1 at 55 (Cantor Decl. ¶ 108). The prior manual, DSM-

  4, called the diagnosis “gender identity disorder.” Id. at 119–20 (¶ 266). A diagnosis of gender

  dysphoria requires (among other things) “clinically significant distress” with one’s sex. Id. at 55

  (¶ 108); see Dkt. 48-3 at 99–100 (Kenny Decl. ¶¶ 188–89). Not all transgender youth experience

  dysphoria. Dkt. 48-10 at 13 (Shumer Dep. 42:5–8); Dkt. 48-11 at 10 (Turban Dep. 31:4–10).

          Gender dysphoria in children (prepubertal minors) is marked by a “strong desire” or “in-

  stance” that “one is the other gender” and at least five other criteria, all lasting at least six months,



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  such as “a strong preference for wearing only typical masculine clothing,” “for the toys, games or

  activities stereotypically used or engaged in by the other gender,” and “for playmates of the other

  gender.” Dkt. 49-4 at 7–8 (DSM-5 TR 3–4). Gender dysphoria in adolescents (minors who have

  reached puberty) is marked by two criteria lasting at least six months, such as a “strong desire to

  be rid of one’s primary and/or secondary sex characteristics” or “a strong conviction that one has

  the typical feelings and reactions of the other gender.” Id.

         As plaintiffs’ experts concede, no other test exists to verify a diagnosis or to calculate an

  error rate. See Dkt. 48-11 at 10 (Turban Dep. 31:11–19); Dkt. 48-10 at 13 (Shumer Dep. 41:15–

  16). A diagnosis depends on self-reported feelings. Other conditions and experiences, such as post-

  traumatic stress disorder, schizophrenia, autism, borderline personality disorder, and incipient ho-

  mosexuality, can cloud a gender dysphoria diagnosis. Dkt. 48-5 at 62–69 (Kaliebe Decl. ¶¶ 171–

  89); Dkt. 48-3 at 121–26 (Kenny Decl. ¶¶ 237–46); Dkt. 48-11 at 15 (Turban Dep. 49:1–5).

         B.      The recent spike in gender dysphoria

         Historically, gender dysphoria in minors was “rare.” Dkt. 48-5 at 10, 12 (Kaliebe Decl.

  ¶¶ 19, 28). And most cases of gender dysphoria were reported in prepubertal children born male,

  with ratios of boys to girls being as high as 33 to 1. Dkt. 48-3 at 43–45 (Kenny Decl. ¶¶ 87, 89);

  see Dkt. 48-1 at 57 (Cantor Decl. ¶ 112). In recent years, however, numbers have skyrocketed.

  “The UK has reported a 4,000 percent increase . . . over the past 10 years” and “Sweden . . . a

  1,500 percent increase.” Dkt. 48-3 at 35 (Kenny Decl. ¶ 71). “Similar increases have been reported

  across much of the economically advanced countries in the world, many showing an over 1000%

  rise in gender dysphoria over the last decade.” Dkt. 48-5 at 12 (Kaliebe Decl. ¶ 29); see Dkt. 48-3

  at 43–51 (Kenny Decl. ¶¶ 87–101). “Never before have there been large cohorts of individuals

  seeking . . . to alter their secondary sex characteristics.” Dkt. 48-5 at 12 (Kaliebe Decl. ¶ 30).



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         With the skyrocketing numbers has come an equally dramatic shift in presentation.

  Whereas formerly most minors with gender dysphoria were young boys, most minors today are

  adolescent girls with no history of cross-gender behavior. Dkt. 48-1 at 66–67 (Cantor Decl. ¶ 135);

  Dkt. 48-5 at 11–12 (Kaliebe Decl. ¶¶ 28, 30). Data from the U.K. and Sweden illustrate the dra-

  matic shift. Id. (¶¶ 28–30); see Dkt. 48-3 at 43–45 (Kenny Decl. ¶¶ 87–89) (discussing other data).

          The upsurge in gender dysphoria among teen girls is largely unstudied, Dkt. 48-1 at 66–

  67 (Cantor Decl. ¶ 135)—as a U.K. review observed, “[a]t present we have the least information

  for the largest group of patients,” Dkt. 48-5 at 17 (Kaliebe Decl. ¶ 45) (citation omitted); see Dkt.

  49-7 at 59 (Cass Report 58). But “[c]ases commonly appear to occur within clusters of peers in

  association with increased social media use, and among people with autism or other mental health

  issues.” Dkt. 48-1 at 66–67 (Cantor Decl. ¶ 135). Approximately “70% of children with gender

  dysphoria have had recent trauma, history of abuse, autism spectrum disorder, homosexual orien-

  tation, depression, anxiety, or bullying.” Dkt. 48-4 at 14 (Weiss Decl. ¶ 58).

         Social and online contagion could be “major contributors” to the “remarkable rise in gender

  dysphoria among adolescents.” Dkt. 48-5 at 10 (Kaliebe Decl. ¶ 33). A 2018 paper showed 86.7%

  of parents reporting “that, along with the sudden or rapid onset of gender dysphoria, their child

  either had an increase in their social media/internet use, belonged to a friend group in which one

  or multiple friends” identified as transgender “during a similar time-frame, or both.” Id. at 13 (¶ 42)

  (citation omitted). A 2023 paper showed similar results. Dkt. 48-1 at 66–67 (Cantor Decl. ¶ 135).

         Those findings are consistent with broader research showing that peers exert “powerful”

  influence on minors, especially on adolescent girls. Dkt. 48-3 at 17–18, 39 (Kenny Decl. ¶¶ 32–

  33, 78). Minors who do not fit within peers’ perception of a binary gender role are frequently

  ostracized and, to gain acceptance, may “declar[e] themselves transgender,” an identity “valorized



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  by a politically powerful transactivist lobby.” Id. at 37–38 (¶ 76); see id. at 41–42 (¶ 84).

         The findings are also consistent with research showing the internet and social media pow-

  erfully affect minors, as illustrated by their role in spreading suicide contagion, self-harm conta-

  gion, anorexia, tic disorders, and psychosomatic illnesses. Dkt. 48-5 at 15 (Kaliebe ¶¶ 39–41); see

  Dkt. 48-3 at 40–41 (Kenny Decl. ¶¶ 82–83). When polled, 82% of attendees at a national confer-

  ence of psychiatrists reported that social media “somewhat often” or “very often” influences teens

  regarding “their sexual and/or gender identity.” Dkt. 48-5 at 21 (Kaliebe Decl. ¶ 53).

         C.      Persistence of gender dysphoria into adulthood

         Although long-term data on the recent rise of adolescent teen girls identifying as

  transgender is lacking, existing research indicates that gender dysphoria can resolve on its own,

  i.e., without social or medical intervention. All studies of children found that a “majority cease to

  want to be the other gender over the course of puberty—ranging from 61–88% desistance.” Dkt.

  48-1 at 59 (Cantor Decl. ¶ 115). Currently, however, there is no “reliable procedure for discerning

  which children who present with gender dysphoria will persist.” Id. at 61–62 (¶ 122.)

  III.   Interventions for Gender Dysphoria

         There is ongoing debate about the appropriate treatment for gender dysphoria. Generally,

  however, the approaches use psychological interventions, medical interventions, or both.

         A.      Psychological interventions

         Psychological interventions include “[p]sychosocial support[] and psychotherapy” for gen-

  der dysphoric patients, a population who “typically” have “comorbid mental health disorders.”

  Dkt. 48-5 at 57–58 (Kaliebe Decl. ¶ 150). “Quality psychotherapy includes the process of explor-

  ing patient life history, emotions, coping style, and thought patterns. This includes validating how

  patients feel, but it also includes teaching patients to not be guided solely by their feelings.” Id.



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  (¶ 151). “Psychiatrists,” for example, “do not ‘affirm’ hopelessness in depression, delusions in

  schizophrenia, or distorted body image in anorexia or body dysmorphic disorder.” Id. (¶ 152.)

         “Time-tested and widely effective psychotherapy approaches include supportive therapy

  or cognitive behavioral therapy.” Dkt. 48-5 at 61–62 (Kaliebe Decl. ¶ 167). “Cognitive behavioral

  therapy has proven effective for virtually every mental health condition researched, including the

  full range of anxiety disorders, depressive and mood disorders, disturbed anger, sleep disturbance

  and trauma reactions”—conditions present at “high levels” in patients with gender dysphoria. Id.

  (¶ 167). The goal with psychotherapy is “to help individuals gain a deeper understanding of them-

  selves, develop coping skills, and provide a neutral, unbiased process.” Id. (¶ 168).

         B.      Medical interventions

         Medical interventions for gender dysphoria are riskier and more invasive. They include

  GnRH analogues (puberty blockers), cross-sex hormones, and gender-transition surgeries.

         1.      GnRH analogues are drugs that the FDA approved to treat central precocious pu-

  berty, a rare disorder in which children undergo puberty too early. Dkt. 48-2 at 20–22, 24 (Hruz

  Decl. ¶¶ 36–37, 39, 43); see Dkt. 48-4 at 19 (Weiss Decl. ¶ 86). When used for treating precocious

  puberty, the goal is to allow a child to enter puberty at a normal age, lest early puberty stunt their

  ultimate bone growth. Dkt. 48-2 at 21, 25 (Hruz Decl. ¶¶ 37, 45). Puberty, however, is not further

  delayed due to the risk of “adverse effects, including reduced bone marrow density.” Id. (¶ 45);

  see Dkt. 48-4 at 20 (Weiss Decl. ¶ 92).

         GnRH analogues are not FDA approved for treating gender dysphoria in minors. Dkt. 48-

  4 at 19 (Weiss Decl. ¶ 86); Dkt. 48-2 at 33 (Hruz Decl. ¶ 58). When GnRH analogues are used to

  treat gender dysphoria in minors, the objective is to delay natural puberty and to prevent the de-

  velopment of secondary sex characteristics (e.g., facial hair in natal males and breasts in natal



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  females). Dkt. 48-2 at 14–15, 33–34 (Hruz Decl. ¶¶ 25, 59); see Dkt. 26-2 at 13–15 (Shumer Decl.

  ¶¶ 54, 57–58) (similar). Various medical and psychiatric conditions can render patients with gen-

  der dysphoria ineligible for GnRH analogues. Dkt. 48-11 at 18 (Turban Dep. 62:14–63:6).

         2.      Cross-sex hormones are another medical intervention. Males and females naturally

  have different primary sex hormones: The principal sex hormone for males is testosterone while

  the principal female sex hormone is estrogen. Dkt. 48-2 at 27–30, 42 (Hruz Decl. ¶¶ 49, 53, 73);

  Dkt. 48-4 at 23 (Weiss Decl. ¶¶ 107–08). “There are major and highly significant differences be-

  tween male and female responses to sex hormones.” Dkt. 48-2 at 27 (Hruz Decl. ¶ 48). For exam-

  ple, testosterone can be used to restore health in males by raising low testosterone due to damaged

  testes or by treating delayed male puberty with “low doses of testosterone for 3–4 months.” Id. at

  27–28 (¶¶ 49–50). By contrast, testosterone is “not an indicated treatment” for disorders affecting

  “a female child or adolescent.” Id. at 29 (¶ 52). Giving testosterone to a female would yield “seri-

  ous adverse effects,” including “impaired fertility, alopecia (hair loss), disfiguring acne, and met-

  abolic changes that increase risk of heart disease and diabetes.” Id. (¶ 52). Instead, females are

  given estrogen to “to treat the same conditions testosterone treats in males.” Id. at 28–29 (¶ 53).

         Cross-sex hormone treatment for gender dysphoria involves giving females doses of tes-

  tosterone 20–40 times higher than their normal levels to induce typical male characteristics, such

  as lower voice and facial hair, and giving males doses estrogen about 5 times higher than their

  normal levels to induce typical female characteristics, such as breasts, female fat distribution, and

  softer skin. Dkt. 48-2 at 39–40 (Hruz Decl. ¶ 68); Dkt. 48-4 at 23 (Weiss Decl. ¶¶ 107–08). Patients

  may take hormones for “the rest of their lives.” Dkt. 48-8 at 20 (Mosaic Dep. 69:22–23). Certain

  conditions, including suicidality, can render patients better suited for psychotherapy than hor-

  mones. Dkt. 48-9 at 22 (Karasic Dep. 77:25–79:16); Dkt. 48-11 at 12 (Turban Dep. 37:24–39:9).



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         3.      Surgeries are the most invasive intervention. Surgeries considered for natal females

  include “masculinizing chest surgery” (often called “top surgery”) and “phalloplasty” (often called

  “bottom surgery” or genital surgery). Dkt. 48-11 at 47 (Turban Dep. 180:10–16). Chest surgery

  means removing both breasts and recontouring the chest. See Dkt. 48-11 at 48 (Turban Dep. 182:4–

  18). Its “end goal” differs from a mastectomy’s, which is usually done to “remove breast cancer.”

  Dkt. 48-10 at 7–8 (Shumer Dep. 20:15–21:1). A phalloplasty involves “taking a piece of tissue

  from somewhere else in the body and fashioning a phallus from it,” attaching it to the genital area,

  and repositioning and extending the urethra. Dkt. 48-11 at 48 (Turban Dep. 181:21–182:3).

         Surgeries for natal males include vaginoplasties. Dkt. 48-11 at 47 (Turban Dep. 180:10–

  16). That surgery involves “removal of the testes” and penis, creating a “space between the rectum

  and the bladder,” creating a vaginal-like structure with skin from the penis, and “reposition[ing]

  the urethra where the urine flows.” Dkt. 48-9 at 26 (Karasic Dep. 96:7–23); Dkt. 48-11 at 48 (Tur-

  ban Dep. 181:9–16). Genital surgeries are “fairly big invasive surgeries that carry substantial med-

  ical involvement and are difficult to reverse.” Dkt. 48-11 at 47 (Turban Dep. 180:19–21).

  IV.    Protocols for Medical Interventions

         A.      The “Dutch protocol”

         The history of medical interventions for gender dysphoria is a short one, beginning at a

  clinic in the Netherlands during the 1990s. Dkt. 48-1 at 110 (Cantor Decl. ¶¶ 238–39); Dkt. 48-2

  at 32 (Hruz Decl. ¶ 58). The influential protocol that clinic developed, known as the “Dutch pro-

  tocol,” is more conservative than the standards used by many practitioners but still quickly pro-

  ceeds to medical interventions. Dkt. 48-1 at 83, 110 (Cantor Decl. ¶¶ 170, 238–39).

         Under the Dutch protocol, “no social transition”—i.e., “social affirmation” of a child’s

  declared gender, such as by calling a natal female by a boy’s name—is permitted before age 12.



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  Dkt. 48-1 at 110–11 (Cantor Decl. ¶¶ 240, 244). Rather, “watchful waiting” is prescribed. Id.

  “Watchful waiting does not mean do nothing but passively observe the child.” Id. (¶ 244). It instead

  involves “actively treating” other “issues which may be exacerbating psychological stress or dys-

  phoria” through therapy and mental-health interventions. Id. The Dutch insistence on watchful

  waiting reflects “the long-established and repeated observation” that gender dysphoria will resolve

  in most children without intervention and the reality that “social transition” itself “contribute[s] to

  the likelihood of persistence.” Id. at 61, 110 (¶¶ 121, 239) (citation omitted).

         After age 12, the Dutch protocol permits social transition and treatment with GnRH ana-

  logues, but only after mental health issues are resolved. Dkt. 48-1 at 110 (Cantor Decl. ¶ 240). It

  “emphasize[s] the need for extensive mental health assessment, including clinical interviews, for-

  mal psychological testing with validated psychometric instruments, and multiple sessions with the

  child and the child’s parents.” Id. at 111 (¶ 243). And the Dutch protocol calls for ongoing mental-

  health support. Id. (¶ 244). After age 16, the Dutch protocol permits cross-sex hormones, but again

  only if mental health issues have been resolved and with ongoing support. Id. at 110–11 (¶¶ 240,

  243). In selecting age thresholds, the Dutch did not identify “any research” showing them to be

  more appropriate than alternatives. Id. (¶ 242); see id. at 111–12 (¶ 245). The thresholds were

  selected because they happened to correspond to the age of informed consent under Dutch law. Id.

         B.      WPATH & Endocrine Society

         More recently, many practitioners have departed from the Dutch protocol to take an even

  riskier approach—which plaintiffs prefer. Plaintiffs point to guidelines developed by the World

  Professional Association for Transgender Health (WPATH) and the Endocrine Society as describ-

  ing this approach. See Mem. 6. There is, however, growing evidence that some practitioners and

  clinics take even more lax approaches. Dkt. 49-17 at 5–6, 9–10 (Reed Decl. ¶¶ 10–11, 21).

          WPATH released version 8 of its guidelines in 2022 (SOC-8). Dkt. 48-5 at 42 (Kaliebe
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  Decl. ¶ 113). Under SOC-8, social transition is permitted at any age. Dkt. 48-1 at 52, 112 (Cantor

  Decl. ¶¶ 101, 248). Plaintiffs’ Dr. Turban considers three-year-olds able to declare themselves

  transgender and to begin social transition. Dkt. 48-11 at 12 (Turban Dep. 40:17–21). And while

  the SOC-8 initially had age recommendations for medical interventions, WPATH abruptly

  dropped those recommendations soon after initial publication without citing any research. Dkt. 48-

  1 at 52, 112–113 (Cantor Decl. ¶¶ 101, 248). The current guidelines permit treatment with GnRH

  analogues and cross-sex hormones as soon as a child exhibits the first physical signs of puberty

  (Tanner Stage 2). Dkt. 49-3 at 115–116 (WPATH SOC-8 at S12.1, S12.5). Under SOC-8, there is

  no requirement that transgender persons receive any psychotherapy before transitioning.

         In creating SOC-8, WPATH did not conduct a “systematic review” of the evidence “for

  children.” Dkt. 48-9 at 23 (Karasic Dep. 81:4–6). It did commission a general review on efficacy

  of GnRH analogues and cross-sex hormones but not their safety. Dkt. 48-1 at 48–49 (Cantor ¶¶ 92–

  93). The review did not separately evaluate adolescents. Id. at 50 (¶ 97). It considered only three

  studies on adolescents, excluding three others due to “high risks of bias,” and then lumped the

  selected studies together with adult studies. Id. at 49 (¶ 94). Even so, the review found only “low”

  evidence that hormones improved quality of life, depression, and anxiety, and “insufficient” evi-

  dence that hormone therapy reduced suicide. Id. at 50 (¶ 97). No studies “follow[ed] youth into

  adulthood.” Id. at 51–52 (¶ 100). Despite research gaps, SOC-8 made recommendations on “con-

  sensus-based expert opinion.” Id. at 50–51, 85 (¶¶ 98, 175) (quoting SOC-8 at S8); see Dkt. 48-5

  at 43–45 (Kaliebe Decl. ¶¶ 115–21) (observing SOC-8 used a process similar to the prior version,

  which “scored poorly on editorial independence, applicability, and rigor of development”).

         Like WPATH, the Endocrine Society recommends “temporary suppression of pubertal de-

  velopment of children with GnRH agonists followed by hormonal treatments.” Dkt. 48-2 at 48–49



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  (Hruz Decl. ¶¶ 82–83). Those recommendations were created by a committee of ten members—

  nine of whom are “also WPATH leaders or authors”—and were never submitted to the full mem-

  bership for approval or for an external review. Dkt. 48-5 at 47–48 (Kaliebe Decl. ¶ 128); see Dkt.

  48-2 at 50–51 (Hruz Decl. ¶ 86). According to the guidelines themselves, the quality of evidence

  for the recommendations is “low or very[ ]low” under the GRADE system. Dkt. 48-2 at 48–49

  (Hruz Decl. ¶ 83). Under “the GRADE system, low recommendations indicate that ‘[f]urther re-

  search is very likely to have an important impact on our confidence in the estimate of effect and is

  likely to change the estimate.’ Very low recommendations mean that ‘any estimate of effect is

  very uncertain.’” Id. at 47 (¶ 82). The guidelines nevertheless made “strong recommendations”

  based on “weak evidence”—a practice “discouraged” in other contexts. Id. at 49 (¶ 84).

          In creating the guidelines, the Endocrine Society commissioned a review on how sex ster-

  oid use affects “lipids and cardiovascular outcomes” and on how it affects “bone health.” Dkt. 48-

  1 at 47–48 (Cantor Decl. ¶ 88) (citation omitted). It did not “look at the effect of the interventions

  on gender dysphoria itself, arguably ‘the most important outcome.’” Dkt. 48-2 at 49 (Hruz Decl.

  ¶ 84) (citation omitted). Despite the narrow scope, the reviews did not “identify any study of ado-

  lescents” on lipids and cardiovascular outcomes, and identified “only one small,” short-term study

  on bone health. Dkt. 48-1 at 47–48 (Cantor Decl. ¶ 88). “The Endocrine Society does not claim to

  have conducted or consulted any systematic review of the efficacy of puberty blockers or cross-

  sex hormones to reduce gender dysphoria or increase mental health or well-being.” Id. at 48 (¶ 89).

  “Nor does it claim to have conducted or consulted any systematic review of safety” with respect

  to “brain development, future fertility, [or] actual reversibility.” Id.

          Many medical advocacy organizations have nonetheless issued supporting statements. Dkt.

  48-3 at 76 (Kenny Decl. ¶ 144). Some of those statements, such as the American Academy of



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  Pediatrics, are the work of “a single author” who never did a systematic review. Dkt. 48-1 at 52

  (Cantor Decl. ¶ 103). Others were developed by committees staffed with advocates of medical

  interventions for transgender youth. Dkt. 48-5 at 32–33 (Kaliebe Decl. ¶¶ 85–87). The organiza-

  tions’ leadership have suppressed efforts to have discussions about quality of evidence and alter-

  native treatments. Id. at 33–58 (¶¶ 89–150); Dkt. 48- 3 at 74–75, 81–85 (Kenny Decl. ¶¶ 142–43,

  155–60). WPATH’s U.S. affiliate even censured WPATH’s first transgender president for criti-

  cizing physicians who fail to follow its guidelines. Dkt. 48-5 at 47 (Kaliebe Decl. ¶ 125).

  V.     Detransition and Regret

         Accompanying the rise of medical interventions are heartbreaking stories of how hormones

  and surgeries have destroyed lives. Corinna Cohn, a self-described “feminized man,” likens tran-

  sitioning to “asking the survivor of a tornado whether he regrets choosing to live in a house that

  was destroyed.” Dkt. 49-13 at 6–7 (Cohn Decl. ¶ 22). Xandra Robertson, a detransitioned woman,

  attempted suicide because “[t]he pursuit of transition had pushed away her family, destroyed her

  marriage, and made meaningful relationships nearly impossible.” Dkt. 49-14 at 6–7 (Robertson

  Decl. ¶¶ 14–15). Chloe Cole began testosterone at age 13 and received a double mastectomy at

  age 15, and now at age 18 “griev[es] for her breasts and her girlhood that was cut short.” Dkt. 49-

  12 at 2, 4 (Cole Decl. ¶¶ 2, 13). Zoe Hawes started testosterone at 16 and desperately wanted a

  hysterectomy and mastectomy—only insufficient finances preserved her ability to become a

  mother able to breastfeed her son. Dkt. 49-16 at 4–5 (Hawes Decl. ¶¶ 15–16). Yaacov Sheinfeld’s

  daughter experienced so much depression and pain from using testosterone for ten years that she

  took fentanyl, fatally overdosing. Dkt. 49-15 at 3 (Sheinfeld Decl. ¶¶ 11–13). This despair reflects

  detransitioners’ realization they “could never really become the opposite sex” and were patients

  for life. Dkt. 49-14 at 5 (Robertson Decl. ¶ 12); Dkt. 49-13 at 6 (Cohn Decl. ¶¶ 18, 21).



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         Such stories do not stand alone. Evidence of detransition and regret among those who un-

  dergo gender-transition procedures as minors is “increasing.” Dkt. 48-4 at 27 (Weiss Decl. ¶ 137);

  see Dkt. 48-1 at 20–21 (Cantor Decl. ¶ 29); Dkt. 48-3 at 69–70 (Kenny Decl. ¶ 132). The issue has

  not been exhaustively studied. But an evaluation of 952 adolescents observed that 26% of those

  who started hormonal interventions before age 18 discontinued them, including 36% of natal fe-

  males. Dkt. 48-4 at 27–28 (Weiss Decl. ¶ 139). And that paper almost certainly undercounts. Years

  may elapse between receipt of hormones and detransition, and a high proportion—76%—“do not

  inform their physician about their detransition.” Id. (¶¶ 138–39). Dr. Weiss estimates about 70%

  of the 100 gender dysphoria patients he treated discontinued hormones. Id. at 28 (¶ 140).

  VI.    International Responses

         Although WPATH and the Endocrine Society are fulfilling the wishes of adolescents clam-

  oring for medical interventions despite the weak evidence base and increasing evidence of regret,

  international medical bodies are studying the evidence and charting a different path.

         In 2020, the U.K.’s National Health Service commissioned an independent report by prom-

  inent pediatrician Dr. Hilary Cass on the use of puberty blockers and cross-sex hormones. Dkt. 48-

  1 at 12–13, 15–16 (Cantor Decl. ¶¶ 12, 19). The U.K.’s National Institute for Health Care Excel-

  lence (NICE) surveyed the literature on efficacy and safety. Id. at 42 (¶ 77). It concluded that,

  under GRADE, evidence for those interventions was “very low” quality. Dkt. 49-5 at 41–42 (NICE

  GnRH Review 40–41); Dkt. 49-6 at 15, 48 (NICE Hormone Review 14, 47). It also observed that

  children taking puberty blockers lacked normal bone density. Dkt. 48-4 at 22 (Weiss Decl. ¶ 101).

  Dr. Cass reported that the evidence was “not strong enough” to recommend a policy. Dkt. 49-7 at

  36 (Cass Report 35). The National Health Service has since restricted medical interventions for

  gender-dysphoric minors to research, stating that “[l]ittle is known about the long-term side effects



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  of hormone or puberty blockers.” Dkt. 48-1 at 16, 44 (Cantor Decl. ¶¶ 20, 82) (citation omitted).

         In 2019, Finland “commissioned a systematic review of the effectiveness and safety of

  medicalized transition.” Dkt. 48-1 at 16–17 (Cantor Decl. ¶ 22). It observed that “the youth who

  were functioning well after transition were those who were already functioning well before tran-

  sition, and those who were functioning poorly before transition continued to function poorly after

  transition.” Id. at 17 (¶ 22). “Medical gender reassignment is not enough to improve functioning

  and relieve psychiatric comorbidities among adolescents with gender dysphoria.” Id. In 2020, Fin-

  land’s “health care service ended the surgical transition of minors.” Id. (¶ 24). Its governing body

  also stated that puberty blockers and cross-sex hormones could be considered “only if” a minor’s

  transgender identity is “of a permanent nature,” it “causes severe dysphoria,” “other psychiatric

  symptoms have ceased,” and “adolescent development is progressing normally,” Dkt. 49-9 at 10–

  11 (COHERE Recommendation 9–10). Ethical considerations counseled that “no decisions should

  be made that can permanently alter a still-maturing minor’s mental and physical development.” Id.

  at 8 (COHERE Recommendation 7).

         In 2019, Sweden initiated its own systematic review. Dkt. 48-1 at 18–19 (Cantor Decl.

  ¶ 26). Released as a peer-reviewed article in 2023, the review concluded that “long-term effects of

  hormone therapy on psychosocial and somatic health are unknown, except that GnRHa treatment

  seems to delay bone maturation and gain in bone mineral density.” Dkt. 49-10 at 13 (Ludvigsson

  12). According to the review, the “absence of long-term studies is worrying because many indi-

  viduals start treatment as minors (<18 years) and [cross-sex hormone therapy] is lifelong.” Id. at

  11 (Ludvigsson 10). The review further observed that there were “[n]o randomized controlled tri-

  als” regarding safety and efficacy, and that existing observational studies were “limited by meth-

  odological weaknesses.” Id. at 10–11 (Ludvigsson 9–10). After the review, Sweden adopted a



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  policy document deeming evidence of efficacy “insufficient and inconclusive for all reported out-

  comes.” Dkt. 48-1 at 19–20 (Cantor Decl. ¶ 28) (citation omitted). It concluded the “risks” of

  medical interventions “currently outweigh the possible benefits.” Id. (citation omitted).

          In 2022, the French Académie Nationale de Médecine changed its own stance on medical

  interventions, saying the “greatest reserve is required” for hormones. Dkt. 48-1 at 20 (Cantor Decl.

  ¶ 29) (citation omitted). “[G]reat medical caution,” the Académie observed, “must be taken in

  children and adolescents, given the vulnerability, particularly psychological, of this population and

  the many undesirable effects, and even serious complications, that some of the available therapies

  can cause.” Dkt. 49-11 at 2 (Académie 1). The Académie attributed a “very important part” of the

  growing numbers of minors with gender dysphoria to the “addictive character of excessive con-

  sultation of social networks,” i.e., social media and peers. Id. at 3 (Académie 2). It advised provid-

  ers “to extend as much as possible the psychological support phase” of treatment. Id.

          In 2022, Norway undertook a review as well. Dkt. 48-1 at 21 (Cantor Decl. ¶ 30). The

  report, released this year, deemed medical interventions for minors “experimental.” Id. (citation

  omitted). It observed an 8-fold increase in the number of minors seeking treatment for gender

  dysphoria, particularly among young natal females. Id. at 22 (¶ 33). And it concluded that the

  “knowledge base, especially research-based knowledge for gender-affirming treatment (hormonal

  and surgical), is insufficient and the long-term effects are little known.” Id. (¶ 31) (citation omit-

  ted). “This applies particularly to the teenage population, which accounts for a large part of the

  increase in referrals to the specialist health service in the last decade.” Id. (citation omitted).

  VII.    Indiana Responds with S.E.A. 480

          Consistent with growing international calls for caution, Indiana enacted S.E.A 480 in April

  2023. S.E.A. 480 generally prohibits licensed medical practitioners from “knowingly provid[ing],”



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  or aiding and abetting another practitioner in providing, “gender transition procedures to a minor.”

  Ind. Code § 25-1-22-13(a)–(b). “Gender transition procedures” are procedures that seek to “(1)

  alter or remove physical or anatomical characteristics or features that are typical for the individ-

  ual’s sex” or “(2) instill or create physiological or anatomical characteristics that resemble a sex

  different from the individual’s sex,” including “puberty blocking drugs, gender-transition hor-

  mone[s],” and gender-reassignment surgeries. Id. § 25-1-22-5(a). The term does not encompass

  (1) services for “a disorder or condition of sex development”; (2) services for a “physical disorder,

  physical injury, or physical illness” or other ailments caused by gender-transition procedures, and

  (3) “[m]ental health or social services.” Id. §§ 25-1-22-5(b), 25-1-22-13(c). In S.E.A. 480, “sex”

  refers to “the biological state of being male or female, based on the individual’s sex organs, chro-

  mosomes, and endogenous hormone profiles.” Id. § 25-1-22-12.

         Separately, S.E.A. 480 prohibits state, county, and municipal health-care facilities and em-

  ployees from providing gender-transition procedures. Ind. Code § 25-1-22-14. And S.E.A. 480

  provides that any minor who receives gender-transition procedures in violation of the law may

  bring a private cause of action for compensatory damages and prospective relief. Id. § 25-1-22-16;

  see id. §§ 25-1-22-16 to -18. S.E.A. 480 is set to take effect on July 1, 2023, but provides a 6-

  month grace period for practitioners to titrate down hormones. Id. § 25-1-22-13(d).

  VIII. The Lawsuit

         Within hours of S.E.A. 480’s signing, plaintiffs filed this lawsuit. Dkt. 1. The complaint

  alleges that S.E.A. 480 violates an unenumerated parental right, equal protection, a Medicaid pro-

  vision and regulation, and the Affordable Care Act (ACA)’s prohibition on “sex” discrimination.

  Id. at 42–45 (¶¶ 212–23). Plaintiffs include four transgender minors and their parents; Catherine




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  Bast, a physician who provides puberty blockers and cross-sex hormones to minors; and her med-

  ical practice, Mosaic Health and Healing Arts. Id. at 3–4 (¶¶ 7–16).

         Each minor suffers from multiple co-morbidities. K.C., a 10-year-old natal male, started

  claiming to be a girl “between 18 and 36 months” of age. Dkt. 48-13 at 8, 12 (N. Clawson Dep.

  21:24; 37:1, 15–18). After K.C. socially transitioned before age four, K.C. was diagnosed with

  “TIDM, celiac disease, depression, anxiety, ADHD, dyspraxia.” Dkt. 48-3 at 105 (Kenny Decl.

  ¶ 200). A.M., an 11-year-old male who identifies as a girl, a “dragon,” and a “witch,” has experi-

  enced “multiple, prolonged, severely adverse childhood events since infancy.” Id. at 107, 110, 111

  (¶¶ 204, 213, 216–17). A.M. first wanted to cut off A.M.’s penis at age 4—the age “A.M.’s father

  physically and sexually abused A.M. and specifically his penis”—and started puberty blockers at

  age 9. Id. at 108 (¶¶ 207–08). M.W., a 16-year-old female, socially transitioned as a boy at age 14

  and takes testosterone. Dkt. 26-05 at 1, 2 (Welch Decl. ¶¶ 2, 4, 7–8). M.W. has ADD and

  “longstanding . . . mood disorders (depression, anxiety – both unspecified).” Dkt. 48-3 at 114–115

  (Kenny Decl. ¶ 225). M.R., a 15-year-old female who identifies as male, has “a history of self-

  harm, isolation, depression, and poor school performance.” Dkt. 48-4 at 7 (Weiss Decl. ¶ 32); see

  Dkt. 48-3 at 112 (Kenny Decl. ¶¶ 220–21). M.R. recently started taking testosterone and stopped

  taking anti-depressants. Dkt. 48-17 at 18, 23 (M. Rivera Dep. 61:18–23; 81:5–19).

         Plaintiffs seek a preliminary injunction against enforcement of S.E.A. 480. Dkt. 27. They

  have submitted declarations from psychiatrists Jack Turban and Dan Karasic and pediatric endo-

  crinologist Daniel Shumer. The State’s opposition is supported by testimony from five experts:

  Dianna Kenny, a psychologist; James Cantor, a psychologist and neuroscientist; Kristopher Ka-

  liebe, a psychologist; Daniel Weiss, an endocrinologist; and Paul Hruz, a pediatric endocrinologist.




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                                      STANDARD OF REVIEW
          “A preliminary injunction is an extraordinary remedy.” Winter v. Nat. Res. Def. Council,

  555 U.S. 7, 24 (2008). “A plaintiff seeking [one] must establish that he is likely to succeed on the

  merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

  balance of equities tips in his favor, and that an injunction is in the public interest.” Id. at 20.

           PLAINTIFFS DO NOT HAVE A STRONG LIKELIHOOD OF SUCCESS

  I.      Plaintiffs Lack Standing to Challenge S.E.A. 480’s Surgical Restrictions

          Plaintiffs lack standing to challenge S.E.A. 480’s restrictions on surgeries for minors.

  Standing requires an “injury in fact” that is “fairly traceable to the challenged action” and “likely”

  to be “redressed by a favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)

  (cleaned up). It must be demonstrated for “each form of relief” sought. TransUnion LLC v.

  Ramirez, 141 S. Ct. 2190, 2208 (2021). Here, however, no plaintiff has “concrete plans” for sur-

  gery before age 18. Lujan, 504 U.S. at 564; see Dkt. 48-13 at 19 (N. Clawson Dep. 66:20–24);

  Dkt. 48-14 at 14 (Morris Dep. 47:23–48:8); Dkt. 48-17 at 21 (M. Rivera Dep. 75:23–76:7); Dkt.

  48-15 at 22 (R. Welch Dep. 80:4–10); Dkt. 48-16 at 26 (L. Welch Dep. 95:19–96:2). And no one

  in Indiana provides, or plans to provide, surgeries to minors. Dkt. 51 at 4 (Stip. of Facts ¶ 14); Dkt.

  48-8 at 26 (Mosaic Dep. 93:8–10, 94:6–8); Dkt. 48-7 at 10, 13 (Eskenazi Dep. 32:2–4, 42:21–

  43:6); Dkt. 48-6 at 12 (Riley Dep. 38:23–24). No redressable injury is traceable to S.E.A. 480.

  II.     Substantive Due Process Does Not Protect a Right to Gender-Transition Procedures

          A.      No right to gender-transition procedures exists

          Plaintiffs’ claims fail on the merits as well. Substantive due process does not confer on

  anyone a fundamental right to obtain gender-transition procedures or subject children to risky il-

  legal procedures. To determine whether the Fourteenth Amendment confers an unwritten right, a

  court must “careful[ly] describ[e]” the right and ask whether “objectiv[e]” evidence shows it to be

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  so “deeply rooted in this Nation’s history and tradition” such that “neither liberty nor justice would

  exist” without it. Washington v. Glucksberg, 521 U.S. 702, 703, 720–21 (1997) (citation omitted).

  That careful, objective analysis is essential to “guard against the natural human tendency to con-

  fuse what the Amendment protects with our own ardent views about the liberty that Americans

  should enjoy.” Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2247 (2022).

         Plaintiffs offer no evidence that parents have a historical right to obtain for minors puberty

  blockers, cross-sex hormones, and gender-transition surgeries. Plaintiffs instead invoke a generic

  “right of parents . . . to make decisions concerning the care of their children.” Mem. 24. In describ-

  ing a putative right, however, courts must “avoid[] sweeping abstractions and generalities.” Doe

  v. City of Lafayette, 377 F.3d 757, 769 (7th Cir. 2004) (en banc); see Hanson v. Dane Cnty., 608

  F.3d 335, 338–39 (7th Cir. 2010); Khan v. Gallitano, 180 F.3d 829, 833–34 (7th Cir. 1999). The

  question here is not whether parents have a right to choose among otherwise lawful treatment

  options but whether they have a right to override legislative judgments that the specific gender-

  transition procedures sought are too risky, unproven, and invasive to be offered to any minor.

         Plaintiffs offer no objective, historical evidence of such a potent right. The decisions they

  cite (Mem. 24) are “very, very far afield,” addressing parents’ rights to “send children to religious

  school,” parents’ rights “to have children receive German language instruction,” or the procedural

  process due a juvenile before voluntary commitment to a mental-health institution. Dobbs, 142 S.

  Ct. at 2268. None holds that parents can demand access to treatments that physicians may not

  lawfully provide to minors. As even plaintiffs’ own authority recognizes, “[p]arents . . . in no sense

  have an absolute right” to demand whatever treatments they wish. Parham v. J.R., 442 U.S. 584,

  603–604 (1979). Because children lack “capacity to take care of themselves,” Schall v. Martin,

  467 U.S. 253, 265 (1984), parents may choose among otherwise lawful options for them.



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         At bottom, a parent’s right “to make decisions for his daughter [is] no greater than his rights

  to make medical decisions for himself.” Doe ex rel. Doe v. Pub. Health Tr. of Dade Cnty., 696

  F.2d 901, 903 (11th Cir. 1983); cf. Whalen v. Roe, 429 U.S. 589, 603–04 (1977) (explaining a

  “doctor[’s] claim” to prescribe drugs “is derivative from, and therefore no stronger than, the pa-

  tients’” claim to “acquire and to use” drugs). That makes sense: Parents otherwise could demand

  for their children all sorts of “treatments” that they could not demand for themselves—unapproved

  vaccines, experimental therapies, medical marijuana, abortions, etc. Children, however, do not

  have greater rights than adults. Plaintiffs thus cannot show that parents have a right to access gen-

  der-transitioning procedures for minors without showing that adults have a right to access them.

         Again, plaintiffs fail to make that showing. Only in a footnote do plaintiffs contend that

  adults have a “right to be free of state intrusions into . . . bodily security.” Mem. 26 n.14 (citation

  omitted). But a right to refuse unwanted medical care is different from a right to “affirmative ac-

  cess.” Abigail All. for Better Access to Developmental Drugs v. von Eschenbach, 495 F.3d 695,

  711 n.19 (D.C. Cir. 2007) (en banc); see Dobbs, 142 S. Ct. at 2257–58 (distinguishing between a

  right to abortion and a “right in certain circumstances not to undergo involuntary surgery, forced

  administration of drugs, or other substantially similar procedures”); Glucksberg, 521 U.S. at 723

  (distinguishing between a “right to refuse lifesaving hydration and nutrition” and a “right to com-

  mit suicide” with physician “assistance”) (citation omitted)). And the interventions plaintiffs seek

  are “decidedly modern.” Morrissey v. United States, 871 F.3d 1260, 1269 (11th Cir. 2017).

         Courts have rejected a litany of claims that persons have a right to obtain drugs and proce-

  dures even where those interventions are purportedly necessary “to preserve bodily integrity, avoid

  intolerable pain, and preserve life.” Raich v. Gonzales, 500 F.3d 850, 864–66 (9th Cir. 2007) (no

  right to medical marijuana); see Dobbs, 142 S. Ct. at 2242–43 (no right to abortion); Glucksberg,



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  521 U.S. at 722–36 (no right to physician-assisted suicide); Morrissey, 871 F.3d at 1269 (11th Cir.

  2017) (no right “to procreate via an IVF process” involving an “unrelated third-party egg donor”);

  Abigail All., 495 F.3d at 711 (no “right to procure and use experimental drugs”); Rutherford v.

  United States, 616 F.2d 455, 456 (10th Cir. 1980) (no right for “terminally ill cancer patients” to

  “take whatever treatment they wished regardless of whether the FDA regarded the medication as

  ‘effective’ or ‘safe’”). Mere physician belief that a procedure is necessary—be it abortion or gen-

  der-transition procedures—does not make it a right. See Dobbs, 142 S. Ct. at 2267.

         B.      S.E.A. 480’s restrictions on subjecting vulnerable minors to unproven, harm-
                 ful, and irreversible procedures satisfies any level of scrutiny

         In the absence of a fundamental right to gender-transitioning procedures, “rational-basis

  review is the appropriate standard.” Dobbs, 142 S. Ct. at 2283. S.E.A. 480, “like other health and

  welfare laws, is entitled to a ‘strong presumption of validity.’” Id. at 2284 (citation omitted). “It

  must be sustained if there is a rational basis on which the legislature could have thought that it

  would serve legitimate state interests.” Id. Even if heightened scrutiny were applied, however,

  “compelling” state interests in “safeguarding the physical and psychological wellbeing of a mi-

  nor,” New York v. Ferber, 458 U.S. 747, 756–57 (1982), and “regulating the medical profession”

  would justify S.E.A. 480’s restrictions on unproven procedures, Gonzales v. Carhart, 550 U.S.

  124, 157 (2007). The “normal rule [is] that courts defer to the judgments of legislatures ‘in areas

  fraught with medical and scientific uncertainties.’” Dobbs, 142 S. Ct. at 2268 (citation omitted).

         1.      Contrary to plaintiffs’ claims, gender-transition procedures are not “safe.” Mem.

  20, 23, 25. Even when properly administered to prevent premature puberty, GnRH analogues carry

  risks. They “may cause hot flashes, weight gain, fatigue,” “mood alterations,” and increased brain

  pressure capable of causing “headache[s] and loss of eyesight.” Dkt. 48-4 at 20 (Weiss Decl. ¶¶

  90-93); see Dkt. 48-2 at 25, 36 (Hruz Decl. ¶¶ 43, 61). Psychiatric effects, including suicidality,

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  are possible too. Dkt. 48-1 at 103 (Cantor Decl. ¶ 220). And administering GnRH analogues to

  prevent normal puberty is a different use of unproven safety. Dkt. 48-2 at 46–47 (Hruz Decl. ¶ 80).

  To date, “no controlled trials . . . prove the safety” of using GnRH analogues to treat gender dys-

  phoria in minors with normal puberty. Dkt. 48-4 at 20 (Weiss Decl. ¶ 89). Risks to interrupting

  normal puberty include depressed stature, lower bone density, inability to orgasm, increased risk

  of cardiovascular disease, and detrimental impact on brain maturation. Dkt. 48-2 at 35–38 (Hruz

  Decl. ¶¶ 61–66); Dkt. 48-1 at 99–103 (Cantor Decl. ¶¶ 207–213, 215–21). And even if a minor

  stops puberty blockers, the minor will be developmentally behind—and suffer repercussions. Dkt.

  48-1 at 106–109 (Cantor Decl. ¶¶ 230–236); Dkt. 48-2 at 37 (Hruz Decl. ¶ 63).

         Exposing minors to cross-sex hormones multiplies the risks. As plaintiffs’ Dr. Turban ad-

  mits, continued exposure causes “more permanent” changes. Dkt. 48-11 at 18 (Turban Dep. 61:6–

  15). No one knows whether adolescents will be fertile if “immature gonads” are exposed to cross-

  sex hormones. Dkt. 48-2 at 44 (Hruz Decl. ¶ 77); see id. at 38–39, 44–45 (¶¶ 67, 78). Even “advo-

  cates of transgender hormone therapy” recognize “that hormonal treatment impairs fertility, which

  may be irreversible.” Id. at 44 (¶ 77). Those effects set the stage for profound regret for minors

  who later detransition. See pp. 13–14, supra. “Other potential adverse effects include disfiguring

  acne, high blood pressure, weight gain, abnormal glucose tolerance, breast cancer, liver disease,

  thrombosis,” “cardiovascular disease,” “lower bone density,” and “thromboembolic stroke.” Dkt.

  48-2 at 45–46 (Hruz Decl. ¶ 79); see Dkt. 48-4 at 23–25 (Weiss Decl. ¶¶ 109–25). When natal

  females take testosterone, “breast cancer onset is 20 years earlier than expected,” the risk of heart

  attacks is 3.5 times greater, and the risk of strokes is doubled. Dkt. 48-4 at 24 (Weiss Decl. ¶¶ 115,

  117–18). Natal males taking estrogen experience a “22-fold increase in the rate of breast cancer”

  and a “36-fold higher risk of strokes.” Id. at 24–25 (¶¶ 119–23).



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         The risks associated with gender-transition surgeries are greater still. Operations in which

  surgeons castrate young boys and cut out ovaries in girls cause permanent loss of fertility and the

  ability to orgasm, among other risks. Dkt. 48-1 at 99, 101 (Cantor Decl. ¶¶ 207, 214). Should a

  minor later detransition, the psychological impact can be devastating. See pp. 13–14, supra. Sim-

  ilar risks accompany breast removal, which permanently prevents the breastfeeding of babies. Dkt.

  48-1 at 98–99 (Cantor Decl. ¶ 206). Additionally, “[b]etween 15–38% of children who undergo

  mastectomies require additional surgeries.” Dkt. 48-4 at 25 (Weiss Decl. ¶ 128). “Up to a third

  have post-operative complications,” including “excessive scarring, pain and swelling from blood

  or fluid buildup, wound dehiscence (opening up where the surgical incisions were sewn together),

  and nipple necrosis (death of the nipple tissue).” Id. Among adults who have had sex reassignment

  surgery, the “overall mortality” rate is “three times higher” than the general population and the

  suicide rate is “19 times higher.” Dkt. 48-3 at 72 (Kenny Decl. ¶ 137). Indeed, Riley already en-

  forces a rigid policy forbidding gender-transition surgery on minors and forbidding its physicians

  from conducting such surgeries even in other facilities. Dkt. 48-6 at 12–13 (Riley Dep. 39:8–11,

  42:20–24). Riley has “looked many places across the country” and “the sort of accepted standard

  is that children” must be “the age of consent for surgical intervention.” Id. at 13 (44:2–7).

         The need to protect minors from risky procedures with irreversible effects is particularly

  compelling considering their vulnerability. Minors with gender dysphoria “typically also have a

  mix of anxiety, depression, self-harm, personality disorders, neurodevelopmental disorders, and

  trauma-related symptoms.” Dkt. 48-5 at 69 (Kaliebe Decl. ¶ 190). A child’s gender expression can

  be a product of trauma or comorbidities “rather than an intrinsic identity.” Id. at 62 (¶ 171). In-

  creasingly, peers and social media appear to be prompting vulnerable teens to identity as

  transgender. See pp. 4–6, supra. Compounding the problem, minors do not have the “maturity,



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  experience, or capacity for judgment required for making life’s difficult decisions.” Parham, 442

  U.S. at 602; see Dkt. 48-5 at 40 (Kaliebe Decl. ¶¶ 107–08) (observing brains develop through age

  20). Young children cannot understand what it means to permanently give up fertility, breastfeed-

  ing, or normal sexual development. Dkt. 48-1 at 98-99, 108 (Cantor Decl. ¶¶ 206, 234). S.E.A.

  480 undoubtedly serves to protect minors from risky, irreversible procedures.

          2.      With no test for gender dysphoria and no reliable way to know whether it will re-

  solve without lifechanging medical interventions, the State has no less restrictive means to advance

  its interests. There is “no means of either falsifying or verifying” gender identity. Dkt. 48-1 at 52

  (Cantor Decl. ¶ 104); see Dkt. 48-10 at 9, 11 (Shumer Dep. 27:1–5, 33:14–15); Dkt. 48-11 at 8

  (Turban Dep. 24:1–6); Dkt. 48-8 at 15 (Mosaic Dep. 51:5–6). And plaintiffs’ own witnesses admit

  that “gender identity may evolve over time,” Dkt. 26-2 at 6-7 (Shumer Decl. ¶ 28); see Dkt. 48-8

  at 13 (Mosaic Dep. 44:13–15, 46:14–25) (agreeing that “gender identity change[s] over time”).

  Indeed, while no studies examine adolescent onset gender dysphoria, research consistently finds

  that up to 88% of gender dysphoric children will desist. Dkt. 48-1 at 59 (Cantor Decl. ¶ 115). There

  is, however, no “reliable procedure for discerning which children . . . will persist.” Id. at 61 (¶ 122);

  see id. at 62–63, 118–22 (¶¶ 123–24, 265–71). As the Endocrine Society admits, “we cannot pre-

  dict the psychosexual outcome for any specific child.” Dkt. 49-1 at 9 (Hembree 3876).

          Nor does reliable evidence show that gender-transition procedures will benefit any minor.

  No randomized controlled trials—the “gold standard” for medical research—have examined those

  procedures. Dkt. 48-1 at 28, 30 (Cantor Decl. ¶¶ 44, 52). The only studies available cannot estab-

  lish that puberty blockers and hormones—as opposed to uncontrolled variables, such as psycho-

  therapy, counseling, or simple maturity—cause any improvements. Id. (¶¶ 44, 52); Dkt. 49-10 at

  11 (Ludvigsson 10); see Dkt. 48-11 at 34 (Turban Dep. 126:3–7) (admitting “[n]o single study can



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  draw causal inferences”). Available studies are so methodologically weak that they cannot support

  subjecting minors to procedures “fraught with extensive and irreversible consequences.” Dkt. 48-

  1 at 19 (Cantor Decl. ¶ 27) (citation omitted); see id. at 14–23, 38–46 (¶¶ 16–36, 74–86).

          The methodological weaknesses in the individual studies cited by plaintiffs’ experts are

  documented in the European reviews, the expert declarations, and the depositions. Dkt. 48-1 at

  14–23, 38–46, 115–31 (¶¶ 16–36, 74–86, 257–99); Dkt. 48-5 at 67–68 (Kaliebe Decl. ¶¶ 184–85);

  Dkt. 48-11 at 18–53 (Turban Dep. 64:7–203:21); Dkt. 49-5 at 46–47 (NICE GnRH Review 45–

  46); Dkt. 49-6 at 48–51 (NICE Hormone Review 47–50); Dkt. 49-10 at 11 (Ludvigsson 10); Dkt.

  49-8 (COHERE Summary). Several features deserve particular attention.

          First, the first study on puberty blockers dates from 2011 and the first study on cross-sex

  hormones dates from 2014—both of which examined patients under the Dutch protocol, not the

  newer, riskier approach plaintiffs endorse. Dkt. 48-1 at 39, 90 (Cantor Decl. ¶¶ 76, 186–87). No

  papers examine genital surgery for adolescents. Dkt. 48-11 at 50 (Turban Dep. 189:10–24). And

  the literature on chest surgeries is “at the level of more case series qualitative data,” e.g., interviews

  with select patients. Id. at 49 (188:14–22).

          Second, study participants do not reflect a random sample of gender dysphoric youth but a

  carefully selected population. Dkt. 48-1 at 36 (Cantor Decl. ¶ 68); see Dkt. 48-11 at 23, 27 (Turban

  Dep. 83:1–2, 84:4–9, 99:14–18). That creates a “substantial risk of selection bias.” Dkt. 49-10 at

  5 (Ludvigsson 4); see Dkt. 48-1 at 36 (Cantor Decl. ¶ 68). No study focuses on adolescent onset

  gender dysphoria—the largest population today. Dkt. 48-1 at 21, 67 (Cantor Decl. ¶¶ 31, 136).

          Third, all minors in the longitudinal studies received psychotherapy while receiving pu-

  berty blockers or hormones, which makes it impossible to attribute any improvements to gender-

  transition procedures instead of psychotherapy. Id. at 87 (¶ 178); Dkt. 49-10 at 5, 10 (Ludvigsson



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  4, 9). Turban’s cross-sectional studies—based on biased survey data—did not control for profes-

  sional mental-health interventions either. Dkt. 48-11 at 25, 43 (Turban Dep. 91:5–18, 163:4–13).

         Fourth, results even with those favorable conditions are mixed. Several studies have found

  very little to no improvement. Dkt. 48-1 at 88–90, 92–94 (Cantor Decl. ¶¶ 182–85, 194–96); see

  Dkt. 48-11 at 25 (Turban Dep. 92:5–11) (admitting his study did “not detect a difference in the

  odds of lifetime or past year suicide attempts”); Dkt. 48-11 at 43 (Turban Dep. 162:2–163:3) (ad-

  mitting his study detected no improvement for several categories). Indeed, one study “found in-

  creases in suicidal ideation (from 25% to 38%), attempts (from 2% to 5%), and non-suicidal self-

  injury (10% to 17%).” Dkt. 48-1 at 73 (Cantor Decl. ¶ 150). Turban’s study reported increased

  binge drinking and substance abuse. Dkt. 48-11 at 43 (Turban Dep. 162:2–163:3). And yet another

  proposed to examine suicidality but then did not report data after 2 of 315 participants—a “shock-

  ingly high rate”—committed suicide. Dkt. 48-1 at 72, 94–95 (Cantor Decl. ¶¶ 147, 197–98).

         Fifth, no studies examine long-term outcomes for puberty blockers and cross-sex hor-

  mones. Dkt. 48-1 at 21, 46 (Cantor Decl. ¶¶ 31, 86). That omission is “worrying” due to the irre-

  versible, “lifelong” impacts of gender-transition procedures. Dkt. 49-10 at 11 (Ludvigsson 10).

         3.      Plaintiffs cite the views of “major medical associations,” arguing that parents and

  physicians should make all decisions on whether to provide gender-transition procedures. Mem.

  25–26. But “the American Medical Association” does not have the final word on what the Consti-

  tution protects. Dobbs, 142 S. Ct. at 2267 (citation omitted). “It is elemental that a state has broad

  power” to regulate “all professions concerned with health,” Barsky v. Bd. of Regents of Univ., 347

  U.S. 442, 449 (1954); see Whalen, 429 U.S. at 603 n.30, especially where there are “medical and

  scientific uncertainties,” Dobbs, 142 S. Ct. at 2268 (citation omitted). States are not required to

  defer to the views of medical advocacy groups. History illustrates the need for States to make their



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  own evidence-based assessments. The “medical establishment” supported eugenic sterilization,

  lobotomies, removal of the clitoris to treat “hysteria,” and mass prescription of antidepressants,

  minimizing or “ignoring contrary evidence.” Dkt. 48-5 at 26, 27–29 (Kaliebe Decl. ¶¶ 71, 73–76).

  More recently, physicians “ushered in” the “American opioid epidemic.” Id. at 30 (¶ 79).

         Yet again the signs of interest group capture are apparent. Plaintiffs do not claim all the

  medical groups they tout undertook systematic reviews of the available literature, submitted their

  analysis to peer review, or put recommendations to the full membership for a vote. In fact, the

  opposite occurred. Some of those statements purport to be the work of “a single author,” who

  formulated it without conducting a review. Dkt. 48-1 at 52 (Cantor Decl. ¶ 103). Others were de-

  veloped by committees filled with advocates of medical interventions for transgender youth. Dkt.

  48-5 at 32–33 (Kaliebe Decl. ¶¶ 85–87). And WPATH and other groups have consistently sup-

  pressed questions about puberty blockers and cross-sex hormones, even refusing to host panels on

  the growing European concerns regarding those procedures. Id. at 33–58 (¶¶ 89–150); Dkt. 48-3

  at 74–75, 81–85 (Kenny Decl. ¶¶ 142–43, 155–60).

         What matters is not how many interested medical organizations support a procedure but

  whether Indiana made a reasonable judgment in an area “fraught with medical and scientific un-

  certainties.” Dobbs, 142 S. Ct. at 2268 (citation omitted). It did. As the European reviews attest,

  suppressing normal puberty in vulnerable minors and pumping them full of hormones to cause

  irreversible effects is an unproven, “experimental” treatment. Dkt. 48-1 at 21, 82–83, 117 (Cantor

  Decl. ¶¶ 30, 167–70, 261). Tellingly, plaintiff’s own experts, when afforded the opportunity to do

  so, repeatedly refused to say the Europeans reviews reached “unreasonable” conclusions. Dkt. 48-

  10 at 43–69, (Shumer Dep. 259:11–259:18, 163:17–265:9); Dkt. 48-11 at 57 (Turban Dep. 218:8–

  219:13). And both Riley hospital and plaintiffs’ expert Dr. Karasic reject gender-transition surgery



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  for those under 18 given (1) the lack of capacity of children and adolescents to consent, and (2) the

  permanence of surgery. Dkt. 48-6 at 9 (Riley Dep. 28:14–21); Dkt. 48-9 at 26 (Karasic Dep. 95:2–

  10). It is perfectly reasonable for Indiana to extend that same assessment to providing minors pu-

  berty blockers and hormones, which also have significant, even permanent, consequences.

  III.    The Equal-Protection Claims Lack Merit

          A.      S.E.A. 480’s classifications are based on age, procedure, and condition—not
                  sex or transgender status

          Plaintiffs’ claims that S.E.A. 480 discriminates based on sex and transgender status lack

  merit. S.E.A. 480 classifies based solely on age, procedure, and condition—not sex or transgender

  status. A sex-based classification is one that provides for “different treatment . . . on the basis of

  their sex.” Frontiero v. Richardson, 411 U.S. 677, 682–83 (1973) (quoting Reed v. Reed, 404 U.S.

  71, 75 (1971)); see United States v. Virginia, 518 U.S. 515, 532 (1996). S.E.A. 480, however, does

  not differentiate based on sex or transgender status. Under S.E.A. 480, a physician cannot perform

  “any medical or surgical service” on a minor that “seeks to” “alter or remove physical or anatom-

  ical characteristics or features that are typical for the individual’s sex” or “instill or create physio-

  logical or anatomical characteristics that resemble a sex different from the individual’s sex.” Ind.

  Code § 25-1-22-5(a)(1)–(2). But S.E.A. 480 does not provide different rules for males and females

  or for transgender patients and cisgender patients. S.E.A. 480’s exemptions are instead based on

  age, procedure, and medical condition (e.g., “disorder of sex development,” “physical injury,”

  etc.). Id. § 25-1-22-5(b). They encompass both sexes and all gender identities.

          Geduldig v. Aiello, 417 U.S. 484, 496 n.20 (1974), confirms that condition-based classifi-

  cations are not sex-based even where one group contains “only” one sex and the other contains

  “both sexes.” It upheld a benefits statute that excluded pregnancy, a condition that “only” affects




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  women. Id.; see Dobbs, 142 S. Ct. at 2245–46 (applying the same reasoning to abortion, a “proce-

  dure that only one sex can undergo”); Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263,

  269 (1993) (similar). Geduldig’s holding applies with greater force here. S.E.A. 480 does not even

  create a group that exclusively consists of male, female, cisgender, or transgender minors: No

  minors can obtain gender-transition procedures regardless of sex or gender identities, subject to

  exceptions equally applicable to all. Plaintiffs concede that “S.E.A. 480 ‘does not specifically refer

  to transgender individuals,’” yet protest that gender-transition procedures are “only sought by

  transgender individuals.” Mem. 30 (citation omitted). That may or may not be true, but it does not

  distinguish Dobbs or Geduldig, where abortion and disability benefits for pregnancy, respectively,

  were sought only by women.

         Plaintiffs’ other complaint is that S.E.A. 480 defines “sex” based on biology. Mem. 30–31.

  But adopting a biological definition of sex does not mean S.E.A. 480 classifies based on

  transgender status because both sexes “inherently contain transgender” individuals. Adams ex rel.

  Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 809 (11th Cir. 2022) (en banc). Nor is S.E.A.

  480’s biological definition of “sex” discriminatory. Plaintiffs’ own experts agree that sex is a “bi-

  ological concept” distinct from gender identity. Dkt. 48-11 at 7 (Turban Dep. 19:3–18); see Dkt.

  26-02 at 6 (Shumer Decl. ¶¶ 26–27); Dkt. 48-2 at 9 (Hruz Decl. ¶ 14); Dkt. 48-4 at 5 (Weiss Decl.

  ¶¶ 18–20); Dkt. 48-1 at 52–54 (Cantor Decl. ¶¶ 104–06). Similarly, Supreme Court precedent de-

  scribes “sex” as a “biological” characteristic. Nguyen v. INS, 533 U.S. 53, 73–74 (2001); see Vir-

  ginia, 518 U.S. at 533. It cannot be that simply using an accepted definition of “sex” triggers

  heightened scrutiny—after all, some definition must be used. Cf. Jana-Rock Constr., Inc. v. N.Y.

  Dep’t of Econ. Dev., 438 F.3d 195 (2d Cir. 2006) (applying rational-basis review to “the contours”

  of race); Hoohuli v. Ariyoshi, 631 F. Supp. 1153, 1159 (D. Haw. 1986) (similar).



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         B.      S.E.A. 480 does not engage in impermissible sex stereotyping

         Plaintiffs also contend S.E.A. 480 engages in impermissible sex stereotyping by forbidding

  procedures that seek to “instill or create physiological or anatomical characteristics that resemble

  a sex different from the individual’s sex” yet allowing the “exact same medical treatments” when

  they would instill characteristics consistent with a minor’s sex. Mem. 28 (citation omitted). But

  repairing injured genitalia to restore health is not the same as destroying properly functioning gen-

  italia for cosmetic reasons. Giving puberty blockers for central precocious puberty, an objectively

  verifiable disorder that can lead to stunted growth, to ensure puberty happens at the normal age is

  not the same as disrupting a properly functioning endocrine system to prevent normal puberty.

  Dkt. 48-2 at 20–24, 34–36 (Hruz Decl. ¶¶ 37–45, 61–63). And giving low doses of hormones for

  a few months to induce delayed puberty resulting from improperly functioning endocrine system

  is not the same as giving high hormone doses indefinitely to suppress a properly functioning sys-

  tem. Id. at 27–29, 38–42 (¶¶ 50–53, 68–75). The intent, effect, and method of treatment all differ.

         Where, as here, medical procedures take account of basic, immutable biological differences

  between male and females, any differences do not prompt “heightened constitutional scrutiny.”

  Dobbs, 142 S. Ct. at 2245–46; see Bray, 506 U.S. at 273–74. Nor can “our most basic biological

  differences”—such different healthy male-female genitalia and different healthy male-female re-

  sponses to testosterone—be derided as “stereotypes.” Nguyen, 533 U.S. at 73.

         Indeed, gender identity is based on stereotypes. According to plaintiffs’ experts, gender

  identity is an unverifiable subjective “deeply felt sense of being male, female, or another gender.”

  Dkt. 48-9 at 9 (Karasic Dep. 25:6–9). Such feelings are developed through “interact[ions]” with

  “other person[s]” and “society.” Dkt. 48-10 at 19 (Shumer Dep. 65:13–66:5). Stereotypes permeate

  gender dysphoria as well. Diagnostic questions include whether a child prefers “typical masculine



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  clothing,” “games or activities stereotypically used or engaged in by the other gender,” and “play-

  mates of the other gender.” Dkt. 49-4 at 7 (DSM-5 TR 3). The premise of plaintiffs’ argument is

  that a male who does not feel like other males must be the wrong sex, which denies the possibility

  that males can have a wider variety of feelings and experiences than is stereotypical.

         C.      Bostock and Whitaker do not support plaintiffs’ argument

         Bostock v. Clayton County, 140 S. Ct. 1731 (2020), nowhere suggests equal protection

  requires physicians to blind themselves to a patient’s sex. That decision addressed Title VII, not

  the Equal Protection Clause. It held that “discrimination based on homosexuality or transgender

  status necessarily entails discrimination based on sex.” Id. at 1747. But it did not consider what it

  means to discriminate based on sex, or whether discrimination based on “sex necessarily entails

  discrimination based on transgender status.” Adams, 57 F.4th at 808–09. Bostock, moreover, made

  clear that discrimination requires “treating [an] individual worse than others who are similarly

  situated.” 140 S. Ct. at 1740 (emphasis added). It expressly declined to hold that it would violate

  Title VII to consider sex, sexual orientation, or transgender status in contexts where those charac-

  teristics are relevant, such as “bathrooms, locker rooms, and dress codes.” Id. at 1753.

         That limitation is critical here. The Equal Protection Clause “is essentially a direction that

  all persons similarly situated should be treated alike.” City of Cleburne v. Cleburne Living Ctr.,

  473 U.S. 432, 439 (1985). It, however, does not require the sexes to be treated as “fungible” with-

  out regard to “enduring” “[p]hysical differences.” Virginia, 518 U.S. at 533 (citation omitted).

  When it comes to medical procedures that involve sexual organs and sex hormones, males cannot

  be compared to females because their cellular structure, anatomy, and hormone levels differ. Even

  plaintiffs’ treatment models recognize males and females respond differently to different sex hor-

  mones. See Dkt. 49-3 at 118–19 (WPATH SOC-8 at S12.6); Dkt. 49-1 at 18 (Hembree 3885).



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         Whitaker by Whitaker v. Kenosha Unified School District No. 1 Board of Education, 858

  F.3d 1034 (7th Cir. 2017), is inapposite as well. That case addressed a school bathroom policy,

  which placed students in separate classes “based upon the sex listed on the student’s birth certifi-

  cate.” Id. at 1051. S.E.A. 480, however, does not create different categories based on sex. Moreo-

  ver, in Whitaker, the challenged policy allegedly rested on “stereotypes” about what a teacher and

  other students consider culturally appropriate levels of privacy. Id. at 1052–53. Here, S.E.A. 480

  deals with biological facts affecting sexual development and sex-differentiated responses to hor-

  mones. And in Whitaker the court relied heavily on the school’s “arbitrary” decision to make bath-

  room assignments based on whatever gender is listed on a birth certificate, which may or may not

  reflect biology. Id. at 1053–54. Here, S.E.A. 480 defines sex in biological terms. Whitaker cannot

  apply without running headlong into the Supreme Court’s admonition against equating “basic bi-

  ological differences” with “stereotypes.” Nguyen, 533 U.S. at 73.

         D.      Transgender status is not a protected characteristic

         Showing that S.E.A. 480 classifies based on transgender status would not matter anyway.

  Transgender persons do not constitute a quasi-suspect class. See Adams, 57 F.4th at 803 n.5 (“grave

  doubt” that transgender constitutes a quasi-suspect class); Druley v. Patton, 601 F. App’x 632, 635

  (10th Cir. 2015) (noting transgender status has never been recognized as a protected class). The

  Supreme Court has recognized only sex, Craig v. Boren, 429 U.S. 190, 197 (1976), and illegiti-

  macy, Mathews v. Lucas, 427 U.S. 495, 505–06 (1976), as quasi-suspect classes. It has declined

  to recognize others. See, e.g., Romer v. Evans, 517 U.S. 620, 640 n.1 (1996) (sexual orientation);

  Bowen v. Gilliard, 483 U.S. 587, 601–2 (1987) (family units); Lyng v. Castillo, 477 U.S. 635, 638

  (1986) (close relatives); City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 441–42 (1985)

  (mental disability); Mass. Bd. of Retirement v. Murgia, 427 U.S. 307, 312–3 (1976) (age).



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         Transgender status does not meet the criteria for a new protected class. It is not an obvious,

  “immutable characteristic determined solely by the accident of birth.” Frontiero, 411 U.S. at 686.

  According to plaintiffs’ experts, transgender status depends on a “person’s internal sense of be-

  longing.” Dkt. 26-02 at 6 (Shumer Decl. ¶ 27). That sense of belonging cannot be objectively

  measured. Dkt. 48-1 at 52 (Cantor Decl. ¶ 104); Dkt. 48-10 at 9, 11 (Shumer Dep. 27:1–5, 33:14–

  15); Dkt. 48-11 at 8 (Turban Dep. 24:1–6). The only way to determine it is to ask a person to “tell

  [you].” Dkt. 48-8 at 15 (Mosaic Dep. 51:3–4); see Dkt. 48-10 at 9 (Shumer Dep. 28:4–16); Dkt.

  48-9 at 8 (Karasic Dep. 24:15–21); Dkt. 48-11 at 7, 8 (Turban Dep. 19:13–21, 21:6–22:20). Gender

  identity, moreover, can—and frequently does—“evolve.” Dkt. 26-02 at 6–-7 (Shumer Decl. ¶ 28).

  Up to 88% of children with gender dysphoria eventually grow out of it. Dkt. 48-1 at 59 (Cantor

  Decl. ¶ 115).

         Transgender minors have not been “historical[ly]” subjected to medical discrimination for

  no legitimate reason. Bowen, 483 U.S. at 602; see City of Cleburne, 473 U.S. at 440–41. Many

  medical organizations support transgender persons—and have since at least 1979. Dkt. 26-01 at 9,

  17–18 (Karasic Decl. ¶¶ 34, 60). And while Indiana now restricts unproven gender-transition pro-

  cedures for minors, that measure reflects genuine concern for their wellbeing and a conviction that

  minors should make decisions with lifelong impacts once they have obtained maturity. Progressive

  European countries share that same conviction. Indiana does not prevent transgender minors from

  accessing less risky, more beneficial treatments, such as psychotherapy.

         Relatedly, transgender persons are not a politically powerless minority with “no ability to

  attract the attention of lawmakers.” City of Cleburne, 473 U.S. at 445. President Biden has issued

  various executive orders intended to advance transgender rights. See, e.g., Exec. Order No. 13,988,

  86 Fed. Reg. 7,023 (Jan. 20, 2021); Exec. Order No. 14,020, 86 Fed. Reg. 13,797 (Mar. 8, 2021);



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  Exec. Order No. 14,021, 86 Fed. Reg. 13,803 (Mar. 8, 2021). An abundance of advocacy groups

  support transgender persons as well. See, e.g., Transgender Resources, ABA, https://www.ameri-

  canbar.org/groups/diversity/sexual_orientation/resources/transgenderrights/.

         E.      S.E.A. 480 survives any level of scrutiny

         For classifications based on age, condition, and procedure, rational-basis review is proper.

  See Kimel v. Fla. Bd. of Regents, 528 U.S. 62, 83–84 (2000); Geduldig, 417 U.S. at 496 & n.20.

  Even under heightened scrutiny, S.E.A. 480 survives; its restrictions on risky, unproven, irreversi-

  ble procedures for minors are “substantially related” to compelling interests in the wellbeing of

  minors and the medical profession. Virginia, 518 U.S. at 533–34; see pp. 22–29, supra.

         F.      Mosaic and Bast lack standing to assert others’ claims

         Mosaic and Bast lack standing to assert equal-protection claims on behalf of current and

  “future” patients. Mem. 27 n.11. Litigants may assert others’ rights only in “limited” situations

  where (1) the plaintiff has a “close” relationship to the rightsholder, Kowalski v. Tesmer, 543 U.S.

  125, 130 (2004), (2) the rightsholder faces a “hindrance” to protecting his right, id., and (3) the

  plaintiff’s interests are not “potentially in conflict” with the rightsholder’s, Elk Grove Unified Sch.

  Dist. v. Newdow, 542 U.S. 1, 15 (2004).

         Mosaic and Bast cannot meet those requirements. With respect to future patients, their

  relationship is not “close.” Kowalski, 543 U.S. at 130–31. As the participation of three current

  patients in this lawsuit demonstrates, there is no genuine hinderance to patients asserting their own

  claims. See id. at 131–32. And as persons who profit from providing the gender-transition proce-

  dures that threaten patients with severe, lifelong harms, there is undoubtedly a “potential[]” con-

  flict of interest that precludes third-party standing. Elk Grove, 542 U.S. at 15.




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  IV.    Medicaid Does Not Safeguard a Right to Any Medical Procedure

         A.      Medicaid does not provide a cause of action

         Plaintiffs do not have an express cause of action to enforce Medicaid but rely on § 1983.

  Mem. 38 n.15. Currently, the Supreme Court is considering whether any Medicaid provision is

  privately enforceable via § 1983 without an express cause of action. See Talevski v. Health &

  Hosp. Corp. of Marion Cnty., No. 21-806 (U.S.) (argued Nov. 8, 2022). A ruling that an express

  cause of action is required would preclude plaintiffs from prevailing on their Medicaid claim.

         B.      S.E.A. 480 does not violate any Medicaid requirements

         Plaintiffs argue that S.E.A. 480 violates Medicaid by preventing them from “receiv[ing]

  medically necessary puberty blockers” and “hormones” for gender transitions. Mem. 36. Under

  Medicaid, a state plan “for medical assistance must . . . provide for making medical assistance

  available . . . to all [qualified] individuals.” 42 U.S.C. § 1396a(a)(10)(A). Here, the term “medical

  assistance” means “payment of part or all of the cost of [certain] care and services.” Id. § 1396d(a)

  (emphasis added). That definition limits a State’s Medicaid obligation to “fund[ing] the cost” of

  eligible services. Collins v. Hamilton, 349 F.3d 371, 372 (7th Cir. 2003).

         Plaintiffs assume that FSSA would not pay claims for GnRH analogues, testosterone, or

  estrogen if physicians cannot “legal[ly]” provide gender-transition procedures. Dkt. 48-8 at 39

  (Mosaic Dep. 148:4–14). But S.E.A. 480 itself does not prohibit payment of claims. Nor does

  FSSA review diagnoses in paying claims for GnRH analogues, testosterone, and estrogen. Dkt. 51

  at 13–14 (Stip. of Facts ¶¶ 96–100). Thus, nothing prevents a provider who performs gender-tran-

  sition procedures from receiving Medicaid reimbursement.

         C.      Gender-transition procedures are not necessary health care

         Medicaid does not require coverage of gender-transition procedures in any event. Plaintiffs



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  rely (Mem. 38) on the requirement that state plans “provide for” the coverage of “early and peri-

  odic screening, diagnostic, and treatment services.” 42 U.S.C. § 1396a(a)(43). Those services in-

  clude “[s]uch other necessary health care, diagnostic necessary health care, diagnostic services,

  treatment, and other measures described in subsection (a) to correct or ameliorate defects and

  physical and mental illnesses and conditions discovered by the screening services, whether or not

  such services are covered under the State plan.” Id. § 1396d(r)(5). That language imposes at least

  two requirements relevant here: (1) the care must be “necessary health care” and (2) it must “cor-

  rect or ameliorate” a “physical” or “mental illness[]” or “condition.” As discussed above, however,

  gender-transition procedures are risky, likely to cause irreversible damage, and have not been

  proven with reliable evidence to provide any benefits. See pp. 22–29, supra. That precludes them

  from qualifying either as “necessary health care” or care that “correct[s] or ameliorate[s] defects”

         The absence of reliable evidence is particularly important in this context. Medicaid’s re-

  quirements must be “unambiguous[]” to be enforceable. Pennhurst State Sch. & Hosp. v. Halder-

  man, 451 U.S. 1, 17 (1981). Reasonable minds can disagree about whether gender-transition pro-

  cedures are necessary and beneficial, so there is no statutory obligation to provide them. See Rush

  v. Parham, 625 F.2d 1150, 1157–58 (5th Cir. 1980) (permitting denial of Medicaid claim for

  “transsexual surgery” where it was “reasonable” to deem the surgery experimental).

         D.      S.E.A. 480 does not violate the comparability regulation

         Plaintiffs argue S.E.A. 480 runs afoul of a “comparability” regulation as well. Mem. 43–

  46. That regulation provides: “The Medicaid agency may not arbitrarily deny or reduce the amount,

  duration, or scope of a required service under [42 C.F.R.] §§ 444.210 and 444.200 to an otherwise

  eligible beneficiary solely because of the diagnosis, type of illness, or condition.” 42 C.F.R.

  § 440.230(c). There is no violation here. First, the regulation is directed to the “Medicaid agency.”



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  It is another “payment” requirement. Rush, 625 F.2d at 1156 n.12. FSSA, however, has not denied

  or reduced any payments. Second, the regulation is triggered only if an agency denies a claim

  “solely because of the diagnosis, type of illness, or condition.” FSSA, however, does not review

  diagnoses or conditions in paying claims for puberty blockers and hormones. It is in full compli-

  ance. Nor does S.E.A. 480 itself restrict gender-transition procedures based “solely” on condition;

  the statute relies on condition plus age. See Ind. Code §§ 25-1-22-7, -13. Third, the regulation

  prohibits only “arbitrary” denials. Prohibiting risky procedures that have no proven benefits is

  hardly arbitrary. See Rush, 625 F.2d at 1158; see also Beal v. Doe, 432 U.S. 438, 444 (1977)

  (observing States have “broad discretion” to determine what assistance is “reasonable”).

  V.     There Is No Affordable Care Act Violation or Preemption

         A.      S.E.A. 480 does not affect payments

         The Affordable Care Act (ACA) provides that “an individual shall not, on the ground pro-

  hibited under . . . title IX of the Education Amendments of 1972 (20 U.S.C. 1681 et seq.) . . . be

  excluded from participation in, be denied the benefits of, or be subjected to discrimination under,

  any health program or activity, any part of which is receiving Federal financial assistance.” 42

  U.S.C. § 18116(a). Plaintiffs argue that FSSA will violate that provision if it stops “pay[ing] for

  A.M.’s gender-affirming care, including her puberty blockers.” Mem. 36. As discussed above,

  however, S.E.A. 480 does not pose an obstacle to FSSA paying claims. See p. 36, supra.

         B.      The ACA does not conflict preempt S.E.A. 480

         Plaintiffs alternatively argue that S.E.A. 480 conflicts with, and is preempted by, the ACA

  as to Mosaic and Bast. Mem. 38–39. The Court must “start with the assumption” that state police

  power remains intact. Wyeth v. Levine, 555 U.S. 555, 565 (2009) (citation omitted). Conflict

  preemption requires a showing that “applying the state law would do ‘major damage’ to clear and



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  substantial federal interests.” Patriotic Veterans, Inc. v. Indiana, 736 F.3d 1041, 1046, 1050 (7th

  Cir. 2013). Impossibility preemption requires showing it is “impossible” to comply with both state

  and federal law. Merck Sharp & Dohme Corp. v. Albrecht, 139 S. Ct. 1668, 1678 (2019). “The

  possibility of impossibility [is] not enough.” Id. Here, plaintiffs’ preemption argument can apply

  at most to persons in Medicaid because the relevant “program or activity” is “Indiana’s Medicaid

  program.” Mem. 36. Since S.E.A. 480 does not affect payment of Medicaid benefits, however,

  plaintiffs cannot show that any conflict exists. It would be odd for S.E.A. 480 to apply differently

  to Medicaid and non-Medicaid patients. And nothing prevents providers from turning down Med-

  icaid patients, making it possible to comply with both state and federal law.

         Accepting plaintiffs’ argument would permit private parties to acquire an exemption from

  state health and safety laws by accepting federal dollars. But treating grant conditions applicable

  to private parties who accept federal dollars as “law” capable of displacing state police power

  would create significant constitutional problems by radically expanding the spending power. It

  would allow the federal government to induce physicians to violate state law with impunity, even

  though “direct control of medical practice in the states is beyond the power of the federal govern-

  ment.” Linder v. United States, 268 U.S. 5, 18 (1925); see United States v. Doremus, 249 U.S. 86,

  93-95 (1919) (invalidating federal regulation of physicians under taxing power).

         C.      S.E.A. 480 does not require discrimination on the basis of sex

         Plaintiffs’ ACA claim fails on the merits as well. Citing Whitaker, plaintiffs argue that

  S.E.A. 480 discriminates based on “sex” by stereotyping transgender minors. Mem. 36–37. But

  that argument fails for much the same reason as plaintiffs’ equal-protection argument based on

  Whitaker. First, S.E.A. 480 classifies based on age, condition, and procedure—not sex or




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  transgender status. See pp. 29–30, supra. Second, “transgender” discrimination cannot be con-

  flated with “sex” discrimination. The ACA incorporates Title IX’s understanding of sex. See 42

  U.S.C. § 18116(a). When Title IX was enacted in 1972, “sex” carried a “narrow, traditional inter-

  pretation.” Ulane v. E. Airlines, Inc., 742 F.2d 1081, 1085–86 (7th Cir. 1984). “[D]ictionaries

  defin[ed] ‘sex’ on the basis of biology and reproductive function,” not gender identity. Adams, 57

  F.4th at 812–13. Third, recognizing “basic biological differences” is not sex “stereotype[ing].”

  Nguyen, 533 U.S. at 73. S.E.A. 480 merely recognizes objective, biological differences between

  the sexes that affect medical practice. That distinguishes this case sharply from Whitaker, which

  addressed privacy expectations and birth certificates that did not necessarily correspond to sex.

  See pp. 31–33, supra.

         Since Whitaker, moreover, the Supreme Court has made clear that “discrimination” re-

  quires “treating [an] individual worse than others who are similarly situated.” Bostock, 140 S. Ct.

  at 1740 (emphasis added). When it comes to medicine affecting sexual development, hormones,

  and organs, however, males and females are not the same. See pp. 2, 7–8, 22–29, 31, supra. A

  requirement that physicians blind themselves to sex would make safely and effectively treating a

  variety of medical conditions, including delayed puberty, impossible. And given that plaintiffs rely

  on Spending Clause legislation, even a reasonable alternative construction is sufficient to defeat

  their theory. See Pennhurst, 451 U.S. at 17. Whitaker should not be extended to medicine. Finally,

  plaintiffs’ own theory traffics in stereotypes when it tells minors who do not like names, clothes,

  toys, activities, and haircuts stereotypical of their sex that they must really be the opposite sex and

  must take drugs to induce physical features more “typical” of that sex. See p. 32, supra.




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  VI.     The First Amendment Does Not Protect Illegal Conduct

          S.E.A. 480 prohibits an Indiana “physician or other practitioner” from knowingly “aid[ing]

  or abet[ting] another physician or practitioner in the provision of gender-transition procedures to

  a minor,” Ind. Code § 25-1-22-13(b), by “tak[ing] any action that aids or abets another physician

  or practitioner,” id. § 25-1-22-15. Bast and Mosaic argue that provision violates the First Amend-

  ment by preventing them from (1) “refer[ing]” minors out of state for gender-transition procedures

  and (2) “respond[ing] to inquiries” from out-of-state practitioners. Mem. 39. S.E.A. 480, however,

  regulates conduct and impacts speech only incidentally.

          S.E.A. 480 prohibits any conduct that aids or abets a gender-transition procedure, such as

  driving a minor to another physician’s office for one or assisting with a surgery. S.E.A. 480 im-

  pacts speech only to the extent it plays “an integral part of conduct in violation of a valid . . . stat-

  ute.” Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 498 (1949). Under the Constitution, “it

  has never been deemed an abridgment of freedom of speech or press to make a course of conduct

  illegal merely because the conduct was in part initiated, evidenced, or carried out by means of

  language, either spoken, written, or printed.” Id. at 691; see Ohralik v. Ohio State Bar Ass’n, 436

  U.S. 447, 456 (1978) (collecting cases). The First Amendment “does not necessarily pose a bar to

  liability for aiding and abetting a crime, even when such aiding and abetting takes the form of the

  spoken or written word.” Rice v. Paladin Enterprises, Inc., 128 F.3d 233, 244 (4th Cir. 1997); see

  Virginia v. Hicks, 539 U.S. 113, 124 (2003) (an overbreadth challenge “[r]arely, if ever,

  will . . . succeed against a law . . . not specifically addressed to speech”). And here, the stakes are

  even lower because S.E.A. 480 is a civil statute.

          S.E.A. 480 bears no resemblance to the restriction on advertisements in Bigelow v. Vir-

  ginia, 421 U.S. 809, 811 (1975). It applies not to advertisements but specific actions, whether



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  taking the form of speech or conduct. Not everything prohibited is speech, so the law does not

  target speech. Otto v. City of Boca Raton, Fla., 981 F.3d 854, 865 (11th Cir. 2020).

           Indiana’s “compelling interest in protecting the physical and psychological well-being of

  minors” justifies S.E.A. 480 regardless. Sable Commc’ns of Cal. v. F.C.C., 492 U.S. 115, 126

  (1989). Allowing physicians to knowingly assist minors with obtaining harmful gender-transition

  procedures would undermine the law’s protections. And no lesser restriction would suffice. The

  policies of Riley Hospital for Children confirm this point. Riley not only prohibits its own staff

  from performing gender-transition surgeries but prohibits them from referring patients to other

  providers for such surgery to protect the integrity of its policy. Dkt. 48-6 at 15–16 (Riley Dep.

  52:14–24, 53:5–8). S.E.A. 480 is no different.1

             PLAINTIFFS HAVE NOT DEMONSTRATED IRREPARABLE HARM

           In arguing irreparable harm, Mem. 42–43, plaintiffs focus on purported—and unproven—

  benefits while ignoring substantial risks that accompany puberty blockers and cross-sex hormones.

  They prioritize short-term experience with those drugs over long-term risks for cancer, stroke, and

  many other conditions. And they neglect the possibility that immature youth will later regret per-

  manent changes to their voices or reproductive capacity, among other long-term consequences.

           Plaintiffs fear that “untreated adolescent gender dysphoria” will harm minors. Dkt. 26-3 at

  11 (Turban Decl. ¶ 22) (emphasis added); see Mem. 42. But no one proposes doing nothing for

  troubled youth. Psychosocial support and psychotherapy have been used in treating gender dys-

  phoric patients for years, especially by the Dutch, with articles reporting beneficial results. Dkt.

  48-1 at 87–88, 90-94 (Cantor Decl. ¶¶ 178–79, 188–96); see Dkt. 48-4 at 7 (Weiss Decl. ¶ 26);



  1
    Under HIPAA regulations, “an individual has a right of access to inspect and obtain a copy of protected health
  information about the individual.” 45 C.F.R. § 164.524(a)(1). S.E.A. 480 does not interfere with that right of access.


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  Dkt. 48-5 at 57–58, 70 (Kaliebe Decl. ¶¶ 150, 195). Several European authorities “now endorse

  psychotherapy as the treatment of choice for minors.” Dkt. 48-1 at 14 (Cantor Decl. ¶ 16). Addi-

  tionally, psychotherapy is a “[t]ime-tested” and “effective” approach for treating co-morbidities

  frequently occurring in minors with gender dysphoria —such as the minors in this case—“includ-

  ing the full range of anxiety disorders, depressive and mood disorders, disturbed anger, sleep dis-

  turbance and trauma reactions,” Dkt. 48-5 at 57–58 (Kaliebe Decl. ¶ 150); see id. at 67 (¶ 184).

         Even plaintiffs’ experts agree that “psychotherapy” is “very valuable for a lot of people”

  with gender dysphoria. Dkt. 48-9 at 22 (Karasic Dep. 76:18–24); see Dkt. 48-11 at 59–60 (Turban

  Dep. 228:16–229:1) (admitting psychotherapy “helped” patients with co-morbidities). Plaintiffs’

  experts denigrate not professional psychotherapy but nebulously defined “conversion efforts” or

  “conversion therapy.” Dkt. 48-5 at 59, 60 (Kaliebe Decl. ¶¶ 155, 160); see Dkt. 48-11 at 60, 62–

  63 (Turban Dep. 229:2–7, 238:8–241:22). And they admit those efforts have not been proven to

  “caus[e]" worse mental health. Dkt. 48-11 at 62 (Turban Dep. 237:21–238:2). So, “no empirical

  basis” justifies a rush to “prioritiz[e] hazardous medical treatment” over psychotherapy, which

  may also lead to other problems going “untreated.” Dkt. 48-5 at 67–68 (Kaliebe Decl. ¶ 185).

         Plaintiffs’ records illustrate the need for caution. Plaintiffs’ Dr. Turban estimated that di-

  agnosing a “simple case” of gender dysphoria would involve “maybe five or six sessions over a

  few months. Very complicated cases . . . go for a year or longer.” Dkt. 48-11 at 13 (Turban Dep.

  41:13–20). Diagnoses here were made far more quickly. See, e.g., Dkt. 48-17 at 12 (M. Rivera

  Dep. 38:1–6; 40:8) (M.R. diagnosed after “ten, 11 days”)); Dkt. 48-15 at 13 (R. Welch Dep. 43:6–

  13) (M.W. diagnosed “at the first appointment”). And the minors’ cases are anything but “simple.”

  “All” have “multiple comorbidities including anxiety, depression, and self-harm behavior.” Dkt.

  48-4 at 8 (Weiss Decl. ¶ 28). One “had been physically and sexually abused by the biologic father.”



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  Id. (¶ 29); Dkt. 48-3 at 107–108 (Kenny Decl. ¶ 205). At least two are still trying to figure out their

  sexual orientation. Dkt. 48-3 at 112–113 (Kenny Decl. ¶ 221–22). Yet M.R.’s mother decided even

  “before the appointment” that “we wanted to start [hormone therapy]”—and Bast obliged. Dkt.

  48-17 at 15, 18 (M. Rivera Dep. at 51:22–23; 61:18–19). And then Bast permitted M.R. to reject

  further treatment for depression. Id. at 21–22 (76:21–25; 77:1–14).

           Plaintiffs raise the specter of suicidality, but Dr. Karasic conceded he would “recommend

  psychotherapy” before medical intervention for patients with “suicidal ideation.” Dkt. 48-9 at 22

  (Karasic Dep. at 78:23–25, 79:1–16). And one study correlates cross-sex hormones with increased

  risk of suicide among gender dysphoric youth. See Dkt. 48-1 at 72–73 (Cantor Decl. ¶¶ 146–150).

         PUBLIC POLICY AND THE BALANCE OF EQUITIES PRECLUDE RELIEF
           The equities and public interest militate against a preliminary injunction. Enjoining the

  State from “effectuating statutes enacted by representatives of its people” would “irreparabl[ly]

  injur[e]” it. Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers). Although

  young people and their parents might sincerely believe blockers and hormones are the answer for

  extensive mental-health problems, science provides no evidence of long-term benefit and ample

  evidence of risk. See pp. 22–29, supra. As detransition stories illustrate, these minors may come

  to regret profoundly irreversible changes to their still-maturing bodies. See pp. 13–14, supra.

                                                SCOPE OF RELIEF2
           To the extent that the Court determines the requirements for injunctive relief are met, any

  relief must be “no greater than necessary to protect the rights of the prevailing litigants.” Doe v.

  Rokita, 54 F.4th 518, 519 (7th Cir. 2022). Where a “case has not been certified as a class action,”



  2
   When the Court ordered plaintiffs to show cause as to why class-certification briefing should not be stayed, it rec-
  ognized scope of relief would be addressed in the “ongoing briefing” on the preliminary-injunction motion. Dtk. 41
  at 3. It did not “address the appropriate scope of preliminary injunctive relief.” Id.; see Dkt. 42 at 2 (recognizing that
  defendants may still argue “facial relief is inappropriate”). This is defendants’ first opportunity to address the issue.

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  courts are limited to granting relief to the named plaintiffs. Id.; see Whole Woman’s Health v.

  Jackson, 142 S. Ct. 522, 535 (2021) (“no court may . . . purport to enjoin the challenged ‘laws

  themselves’”) (citation omitted)). Enjoining a statute’s application to “strangers to the suit” would

  “raise serious questions” under equity and Article III. Dep’t of Homeland Sec. v. New York, 140

  S. Ct. 599, 600 (2020) (Gorsuch, J., concurring in grant of stay); see Doe, 54 F.4th at 519. And it

  would create an “end run around the rules governing class certification.” Kane v. De Blasio, 19

  F.4th 152, 173–74 (2d Cir. 2021). So while Mulholland v. Marion County Election Board, 746

  F.3d 811 (7th Cir. 2014), stated that a final declaratory judgment of facial invalidity means a stat-

  ute would be unconstitutional “as to all,” it reaffirmed that the injunction there reached “only the

  parties before” the court. Id. at 819 (emphasis added). And a facial declaration will require plain-

  tiffs to “establish that no set of circumstances exists under which [S.E.A. 480] would be valid.”

  United States v. Salerno, 481 U.S. 739, 745 (1987). Yet even under plaintiffs’ standard of care,

  blockers, cross-sex hormones, and surgeries are not always appropriate. Dkt. 48-9 at 22 (Karasic

  Dep. 77:25–79:16); Dkt. 48-11 at 12, 18, 48 (Turban Dep. 37:24–39:9, 62:21–63:6, 183:1–25).

  Accordingly, S.E.A. 480 is valid at least sometimes.

                                           CONCLUSION

         The Court should deny the motion for a preliminary injunction.




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